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 1                                    INTRODUCTION
 2         1. This is a RICO and civil rights action brought under 42 U.S.C. §1962, 42
 3   U.S.C. §§1983 and 1985, and various related state laws by plaintiff against the City of
 4
     Maywood, the Maywood-Cudahy Police Department, and their employees individually
 5
     and in their official capacities, for injunctive relief and compensatory and punitive
 6
     damages because of a continuing systematic abuse of authority, including but not limited
 7
     to unlawful searches and seizures of person and property; wrongful detentions and
 8

 9   arrests, falseimprisonments, maliciousprosecutions, cover ups, false reportwriting, use

10   of excessive and unnecessary force, sexual assaults and other acts of lawlessness.
11   Plaintiff(s) first filed this action in Gonzalez v. City of Maywood, CV 07 3469 ODW
12   (Shx), on May 29, 2007; on January 28, 2008, the Court ordered the Plaintiffs’ actions
13   be severed and refiled as a separate case.
14
                                       JURISDICTION
15
           2. This case is brought pursuant to 18 U.S.C. § 1961 and 42 U.S.C. §§ 1983,
16
     1985 and 1986. Jurisdiction is based upon 28 U.S.C. §§ 1331 and 1343 (1-4). This
17
     court also has supplemental jurisdiction over the state claims and over defendants
18

19   pursuant to 28 U.S.C. § 1367. Plaintiff is a victim of City of Maywood employees acting

20   under color of law and within the scope of their authority and pursuant to the policies
21   and practices of the entities.
22                                          VENUE
23         3. The claims alleged herein arose from events or omissions occurring in the
24
     County of Los Angeles. Therefore, venue lies in the Central District of California. 28
25
     U.S.C. 1391(b)(2).
26
                                          PLAINTIFF
27
           4. Plaintiff Pablo Camarillo is a resident of the County of Los Angeles, State of
28

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 1   California. At all times material to this complaint, plaintiff was a private person in the
 2   State of California, United States of America.
 3                                       DEFENDANTS
 4
           5. Plaintiff is informed and believes and thereon alleges that at all times herein
 5
     mentioned defendants City of Maywood, the Maywood-Cudahy Police Department, and
 6
     Does 1 through 5, were and are public entities duly organized and existing as such under
 7
     the laws of and within the State of California under the laws of the United States and the
 8

 9   laws of the State of California.

10         6. Plaintiff is informed and believes and thereon alleges that at all times herein
11   mentioned defendants Bruce Leflar, Paul Pine, and Does were and/or are police
12   supervisors and/or policymakers for the City ofMaywood, the Maywood-Cudahy Police
13   Department and Does 6 through 15, and in such capacity were/are managersand/or chief
14
     administrators and/or policy makers. The named entities, supervisors and Does are
15
     responsible for, among other things, the employment, discharge, training, supervision,
16
     control, assignment and discipline of all sworn and civilian personnel of their entities
17
     and the formulation,       promulgation, adoption, application, implementation,
18

19   administration, enforcement and revocation of the policies and practices of the named

20   entities and Does.
21         7. Plaintiff is informed and believes and thereon alleges that the actions of named
22   and Doe supervisors were committed while employed by the entities and represent the
23   customs, practices and policies of the entities.       The acts herein described and
24
     complained of were committed and done pursuant to policies, rules, regulations,
25
     practices, customs, and/or usages [hereinafter "policies and practices"] of the entities
26
     and were created and enforced by the managers and/or supervisors and/or policy makers.
27
           8. Plaintiff is informed and believes and thereon alleges that the defendants
28

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 1   Cunningham, Menchaca, Nijland and Does are individual officers or agents of the City
 2   of Maywood and/or the Maywood-Cudahy Police Department and/or others at the times
 3   of the acts herein complained of.
 4
           9. The true names and capacities of defendants Does 1-30 are presently unknown
 5
     to plaintiff; who therefore sues each of these defendants by such fictitious names; but
 6
     upon ascertaining the true identity and/or liability of a defendant Doe, plaintiff will
 7
     amend this Complaint or seek leave to do so by inserting the true name in lieu of the
 8

 9   fictitious name. Plaintiff is informed and believes and thereon alleges that each

10   defendant Doe herein is in some manner responsible for the injuries and damages herein
11   complained of.
12                                    INCORPORATION
13         10. The above paragraphs are hereby repeated, realleged and incorporated by this
14
     reference in each cause of action.
15
                    FACTS COMMON TO ALL CLAIMS FOR RELIEF
16
           11.    On or about September 4, 2006, Maywood/Cudahy Police Officers
17
     Cunningham, Menchaca, Nijland and other unknown officers wrongfully arrested Jose
18

19   Molina at 5106 1/4 Live Oak Street in the city of Cudahy, California and wrongfully

20   assaulted, battered, threatened and, pursuant to defendants’ code of silence and
21   conspiracy to obstruct justice, prepared false official reports for the purpose of covering
22   up their wrongful actions, preventing Plaintiff from obtaining redress for the wrongs
23   committed against Plaintiff and maliciously prosecuting Plaintiff. The force used upon
24
     Mr. Molina included being thrown to the ground, having his face dragged on the ground,
25
     and being struck in the face and ribs while his arms were held down. Supervising Sgt.
26
     Nijland was present for and observed and/or participated in the above-described
27
     conduct. Plaintiff was treated at St. Francis Medical Center for an elbow fracture and
28

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 1   abrasions. Plaintiff is informed and believes and thereon alleges that defendants
 2   committed these wrongful acts because they believed in the existence of and actively
 3   participated in the code of silence in the Maywood/Cudahy Police Department allowing
 4
     them to engage in wrongful conduct and obstruct justice with impunity.
 5
           12. Plaintiff is informed and believes and thereon alleges that defendants'
 6
     wrongful conduct included but is not limited to fraud, fraud by wire, obstruction of
 7
     justice, kidnaping and bribery.
 8

 9         13. Plaintiff is informed and believes there are numerous other similar victims

10   of defendants' wrongful acts who are afraid to seek, and/or unable to seek redress
11   because of their reasonable fears of retaliation, and/or because they are recent
12   immigrants who are reasonably concerned about the lawfulness of their status, and/or
13   because they are unable to find representation.
14
           14. Plaintiff complied with the provisions of the California Tort Claims Act.
15
                               The Maywood Police Department
16
           15.     Plaintiff is informed and believes and thereon alleges that the
17
     Maywood-Cudahy Police Department has for years been a department composed of
18

19   persons not conforming their conduct to the requirements of the law, or to established

20   standards of proper police practices.
21         16. Plaintiff is informed and believes and thereon alleges that the defendants,
22   officers and supervisors within the Maywood-Cudahy Police Department, invidiously
23   singled out, targeted and violated the rights of recent immigrants and/or persons
24
     defendants perceived to be recent immigrants because defendants knew that recent
25
     immigrants were easy victims, afraid to exercise their rights, and readily subject to
26
     retaliation if they attempted to exercise their rights.
27
           17. Plaintiff is informed and believes and thereon alleges that the violations of
28

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 1   individuals' rights by Maywood-Cudahy officers occurred not because of a few "bad
 2   apples" but is instead the result of a culture of lawlessness permeating the entities and
 3   constituting and/or proximately caused by their routine practices, including a code of
 4
     silence and conspiracy to obstruct justice.
 5
           18.     Plaintiff is informed and believes and thereon alleges that the
 6
     Maywood-Cudahy police department regularly hires police officers who have been
 7
     pushed out of other law enforcement agencies for crimes or serious misconduct,
 8

 9   including but not limited to: A former Los Angeles County sheriff's deputy terminated

10   for abusing jail inmates; a onetime Los Angeles Police Department officer fired for
11   intimidating a witness; and an ex-Huntington Park officer charged with negligently
12   shooting a handgun and driving drunk.
13         19. Plaintiff is informed and believes and thereon alleges, based in part upon
14
     allegations contained in a Superior Court complaint filed by Maywood-Cudahy Officer
15
     Pablo Cunningham, one of the named defendants in this action (and in many other
16
     federal civil rights actions, as alleged below), that supervisors required officers to
17
     "engage in racial profiling and quotas," and that Cunningham was "threatened by [
18

19   Police Chief Bruce] Leflar with loss of his job after he refused to engage in racial

20   profiling." Plaintiff is informed and believes that Cunningham was fired by the
21   Maywood-Cudahy Police Department and then rehired because he threatened to expose
22   improprieties within the department.
23         20. Plaintiff is informed and believes and thereon alleges, as pleaded by
24
     Defendant Cunningham his Superior Court complaint, that defendants covered up
25
     misconduct including excessive force, promoted a code of silence and conspiracy to
26
     obstruct justice, hired peopleunfit to be officers (for improper reasons, including but not
27
     limited to their connections to other City officials), extorted people for sex, and took
28

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 1   kickbacks and bribes.
 2         21. Plaintiff is informed and believes and thereon alleges that official public
 3   records document that Pine resided in an apartment owned by the proprietors of a tow
 4
     yard. Plaintiff is informed and believes that the tow yard owner is Maywood Club Tow.
 5
           22. Plaintiff is informed and believes that Pine was permitted to live in the
 6
     apartment as a quid pro quo for Pine's assistance in causing the towing, impoundment,
 7
     and sale of vehicles, for the illicit gain of Pine, the City of Maywood, the
 8

 9   Maywood-Cudahy Police Department, Does, and others.

10         23. Plaintiff is informed and believes and thereon alleges that Maywood Club
11   Tow and/or its owners and/or Does gave money and/or things of value to defendants as
12   a quid pro quo for the assistance and cooperation of defendants in causing the towing,
13   impoundment, and sale of vehicles.
14
           24. Plaintiff is informed and believes that governing officials of the City of
15
     Maywood received money and/or things of value from Maywood City Tow and/or its
16
     owners, and/or Does as a quid pro quo for, among other things, starting, continuing,
17
     implementing and/or protecting defendants' illicit vehicle towing scheme.
18

19         25. Plaintiff is informed and believes that the Cities of Maywood and Cudahy

20   and the Maywood-Cudahy Police Department did a land-office business with Maywood
21   Club Tow, towing, impounding, confiscating, and selling vehicles, and reaping huge
22   profits in doing so, and that Pine and other defendants were personally involved in this
23   illicit, fraudulent and criminal practice, including the conduct of supposed hearings to
24
     determine whether vehicles should be returned to their owners. The involvement of
25
     defendants including Pine in the hearings made them unfair and deprived vehicle owners
26
     of due process of law.
27
           26. Plaintiff is informed and believes and thereon alleges that existence of graft
28

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 1   and corruption, and the knowledge of the graft and corruption, within the
 2   Maywood-Cudahy Police Department and the City of Maywood, including but not
 3   limited to the illicit, fraudulent and criminal scheme to tow, impound and sell vehicles,
 4
     made it difficult and/or impossible for any supervisor to exercise meaningful
 5
     supervision and/or to discipline officers who abused people and violated the law, for
 6
     fear that officers would blow the whistle on the corruption and nepotism including but
 7
     not limited to the vehicle towing scheme, if any meaningful discipline were threatened
 8

 9   or imposed and proximately caused, fostered and contributed to the code of silence and

10   conspiracy to obstruct justice within the department.
11         27. Plaintiff is informed and believes that the code of silence and defendants’
12   conspiracy to obstruct justice, and an absence of meaningful supervision and discipline,
13   was each a proximate cause of defendants’ violations of Plaintiff’s rights.
14
           28.    Plaintiff is informed and believes and thereon alleges that the
15
     Maywood-Cudahy Police Department does not have adequate procedures to supervise
16
     and/or discipline its employees, including but not limited to the following:
17
                  a.   Inadequate reporting requirements, including but not limited to
18

19         inadequate use-of-force reporting;

20                b. Inadequate procedures for documenting and investigating citizens'
21         complaints, including but not limited to refusing to accept citizens' complaints,
22         failing adequately to documents citizens' complaints, failing to investigate
23         citizens' complaints, and failing to respond to court orders requiring defendants
24
           to disclose citizens' complaints.
25
           29. Failures by all the supervisor, manager and policy-making defendants to
26
     provide oversight over the Maywood-Cudahy police, to make them follow the
27
     requirements of the Constitution, and/or to stop officers from making false charges
28

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 1   against innocent persons and lying to support false charges, among other things, make
 2   those defendants liable to plaintiffs.
 3          30. Plaintiff is informed and believes that all the injunctive relief prayed for in
 4
     this complaint is necessary to stop the wide-scale violation of peoples' rights by
 5
     defendants.
 6
                                Scope and Nature of Allegations
 7
            31. Plaintiff is informed and believes and thereupon alleges that officials,
 8

 9   supervisors, policy makers and other individuals with the authority to set or modify

10   municipal and/or departmental policy, dejure or defacto, of Defendant City of
11   Maywood, participated in, approved of, ratified and/or failed to prevent the acts by
12   Defendants City of Maywood, Maywood-Cudahy Police Department, Bruce Leflar, Paul
13   Pine, Cunningham and Does 1-30, complained of by Plaintiff.
14
            32. Plaintiff is informed and believes and thereon alleges that at all times herein
15
     mentioned, each of the defendants; including officials, supervisors, watch commanders
16
     and other policy makers from Defendant City of Maywood; was the agent, employee or
17
     co-conspirator of one other, some, or all of their Co-defendants. Plaintiff is informed,
18

19   believes and thereupon alleges that each of the defendants, acting individually, and in

20   concert with each other, engaged in a common plan wrongfully to deprive Plaintiff of
21   his rights to: security in Plaintiff’s person, property and effects, freedom from
22   unreasonable searches and seizures, equal protection and due process of law, and of the
23   right to seek redress and obtain compensation for the wrongs committed against
24
     Plaintiff.
25
            33. In doing each and all of the things herein mentioned, or neglecting or
26
     intentionally failing to rectify said misconduct, each and all defendants were acting
27
     pursuant to a defacto policy and within the scope of such agency, employment and
28

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   1   conspiracy and with full permission, knowledge, approval, ratification and support of
   2   each other.
   3                                           Damages
   4
             34. By reason of the aforementioned acts of defendants, and each of them,
   5
       Plaintiff was injured in Plaintiff’s health, strength and activity, sustained great mental
   6
       pain, suffering and shock to Plaintiff’s nervous systems, torment, anxiety, anguish,
   7
       humiliation and severe emotional distress, all to Plaintiff’s damage in an amount
   8

   9   according to proof at trial. As a proximate result of the foregoing wrongful acts of

  10   defendants, and each of them, property belonging to Plaintiff was damaged and
  11   destroyed in an amount according to proof.
  12         35. Plaintiff is informed and believes and thereon alleges that, by reason of the
  13   aforementioned acts of defendants and each of them, Plaintiff was and/or will in the
  14
       future be required to receivehospital, medical, doctor, nursing, dental and psychological
  15
       care and treatment, and by reason thereof, will incur expenses related thereto in an
  16
       amount according to proof at trial.
  17
             36. By reason of defendants’ wrongful acts, Plaintiff was injured in Plaintiff’s
  18

  19   businesses and/or property, including but not limited to being unable to work and earan

  20   money, and Plaintiff will in the future be injured in Plaintiff’s business and/or property
  21   by sustaining a loss and impairment of earnings and earning capacity, in an amount
  22   according to proof at trial. By reason of defendants’ code of silence and conspiracy to
  23   obstruct justice, defendants have damaged, impaired and reduced the value of Plaintiff’s
  24
       property interests, including but not limited to Plaintiff’s property interest in his right
  25
       and/or causes of action to obtain redress and compensation for the wrongs committed
  26
       against Plaintiff.
  27
             37. Defendants acts were done and committed by each individual defendant
  28

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   1   knowingly, deliberately and maliciously with the intent to oppress, injure and harass
   2   Plaintiff (with the exception of the claims by Plaintiff based on negligence) and with
   3   reckless indifference to Plaintiff’s civil rights, personal security and safety, and by
   4
       reason thereof, Plaintiff prays for punitive and exemplary damages from and against
   5
       individual defendants and each of them in an amount according to proof at trial.
   6
                                     CLAIMS FOR RELIEF
   7
                                 FIRST CLAIM FOR RELIEF
   8                   BY PLAINTIFF AGAINST ALL DEFENDANTS
   9                 (Violation of RICO Statute - 18 U.S.C. §§ 1962(c), (d))

  10
             38. This cause of action is brought by Plaintiff for treble damages for injury to
  11
       his business or property including but not limited to lost employment and accrued
  12
       interest resulting from the conduct alleged herein, which violates the provisions of 18
  13

  14   U.S.C. §§ 1961-1968 (hereafter "RICO").

  15         39. The following constitute an enterprise within the meaning of RICO generally
  16   and 18 U.S.C. § 1961(4) specifically:
  17                a. The Maywood-Cudahy Police Department;
  18                b. The City of Maywood;
  19
                    c. Maywood Club Towing Company;
  20
                    d. The Association in Fact of defendants City of Maywood, Maywood-
  21
             Cudahy Police Department, Maywood Club Towing Company (“the AIF
  22
             Enterprise”).
  23

  24
             40. Plaintiff is informed and believes and thereon alleges that each enterprise

  25   alleged herein is an entity distinct from the pattern of racketeering activity alleged

  26   herein; is or was an ongoing organization, formal or informal; and functions or
  27   functioned as a continuing unit, to wit:
  28

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   1             a. The City of Maywood is a public entity with a formal structure and
   2       capacity engaging in a wide range of activities, only part of which entails the
   3       pattern of racketeering activity alleged in this complaint. The defendants charged
   4
           with operating it under 42 U.S.C. § 1962 (c) were animated by, among other
   5
           things, engaging in bribery, obstruction of justice, and fraud.
   6
                 b. The Maywood-Cudahy Police Department is a subdivision of the City
   7
           of Maywood and City of Cudahy whose charge is enforcement of the laws of the
   8

   9       State of California and the Cities of Maywood and Cudahy, in which capacity it

  10       has a formal structure and engages in a wide range of activities, only part of
  11       which entails the pattern of racketeering activity alleged in this complaint. The
  12       defendants charged with operating it under 42 U.S.C. § 1962 (c) were animated
  13       by, among other things, bribery, extortion, obstruction of justice, and kidnaping.
  14
                 c. Maywood Club Towing Company is a formally organized business
  15
           entity engaged in the business of towing and impounding vehicles under a variety
  16
           of circumstances, only part of which entails the pattern of racketeering activity
  17
           alleged in this complaint. The defendants charged with operating it under 42
  18

  19       U.S.C. § 1962 (c) were animated by, among other things, the common purpose of

  20       unlawfully impounding vehicles in order to collect and receive the illegal charges
  21       resulting from the impound, and implemented the illegal scheme by mail fraud
  22       and bribery.
  23             d. The AIF Enterprise had an ascertainable structure, comprised of the
  24
           Maywood-Cudahy Police Department, Maywood Club Towing Company, and the
  25
           key individuals who directed the enterprise’s unlawful activities which included
  26
           but are not limited to Pine and Does. This structure was distinct from the pattern
  27
           of racketeering activity in that the enterprise’s activities encompassed both lawful
  28

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   1         and unlawful activities. The AIF Enterprise’s associates were animated by
   2         common purposes, including but not limited to unlawfully and fraudulently
   3         impounding vehicles to collect and receive the illegal charges resulting from the
   4
             impound and receive kickbacks, and to cover up and conceal their activities by
   5
             obstructing justice in state and federal civil and criminal proceedings by means
   6
             of a code of silence. The AIF Enterprise functioned as a continuing unit with
   7
             continuity in both structure and personnel.
   8

   9         41. The activities of the enterprises affect interstate commerce in numerous ways,

  10   including but not limited to: 1) the use of interstate mail, telephone and wires (including
  11   transmission and dissemination of false arrests and false criminal charges); 2) the
  12   purchase of materials for use in the enterprises which materials were in the stream of
  13   interstate commerce; 3) the provision of federal funds to the Maywood-Cudahy Police
  14
       Department, received through the stream of interstate commerce; 4) oversight by federal
  15
       governmental entities of various of the activities of the Maywood-Cudahy Police
  16
       Department and/or the City of Maywood, involving interstate travel and the expenditure
  17
       of funds through the stream of interstate commerce; 5) the interstate travel of various
  18

  19   of the owners of impounded vehicles to retrieve their impounded vehicles or attempt to

  20   do so; 6) the travel, paid from proceeds of the pattern of racketeering activity alleged
  21   herein, of members of the Maywood-Cudahy Police Department from California to Las
  22   Vegas; 7) the purchase of tow trucks, and gasoline and equipment for said trucks, used
  23   in furtherance of the pattern of racketeering activity alleged herein that reached the
  24
       purchasers through the stream of interstate commerce.
  25
             42. Defendants’ racketeering activities included but are not limited to the
  26
       following:
  27
                    a. Condoning and encouraging the fabrication of evidence including but
  28

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   1       not limited to the filing of materially false police reports in tended to be used in
   2       state and federal civil and criminal proceedings;
   3             b. Condoning and encouraging a "code of silence," which keeps and/or
   4
           dissuades employees from reporting the misdeeds of fellow employees, and/or
   5
           causes and/or facilitates the preparation, submission and use of false official
   6
           reports, and/or making false official statements, and/or perjury; and which thereby
   7
           obstructs justice in official proceedings, including but not limited to state and
   8

   9       federal criminal investigations and proceedings, and/or state and federal civil

  10       investigations and proceedings;
  11             c. Condoning and encouraging officers in the belief that their failure or
  12       refusal to participate in the "code of silence" or to cover up or conceal the
  13       misconduct of other officers will cause them to be ostracized by other officers,
  14
           will adversely affect their ability to get support from other officers in dangerous
  15
           and/or life-threatening situations in the field and will adversely affect their
  16
           opportunities for promotion and other employment benefits, and which thereby
  17
           obstructs justice in official proceedings, including but not limited to state and
  18

  19       federal criminal investigations and proceedings, and/or state and federal civil

  20       investigations and proceedings;
  21             d. Condoning and encouraging the acceptance of "gratuities," "kickbacks,"
  22       and/or other wrongful and/or illicit compensation, which has the effect of
  23       strengthening defendants’ code of silence and conspiracy to obstruct justice by
  24
           making all department employees, including but not limited to supervisors,
  25
           vulnerable to accusations of misconduct and unable and/or unwilling to
  26
           accurately report misconduct, and/or to supervise and/or discipline subordinates.
  27
           43. Plaintiff is informed and believes that defendants’ code of silence and
  28

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   1   conspiracy to obstruct justice is and was operative in many state and federal
   2   proceedings, including but not limited to the following federal cases:
   3                  a. Jose Rodriguez and Guillermo De La Torre v. City of Maywood, CV
   4
             99-9898 CBM (Ex);
   5
                      b. Ortiz v. City of Maywood, Pablo Cunningham, et.al.,CV 06-3622 DSF
   6
             (FMOx);
   7
                      c. Flores v. City of Maywood, Pablo Cunningham, CV 04-7565 GPS (Ex)
   8

   9                  d. Pacheco v. City of Maywood, Pablo Cunningham, et.al., CV 06-7613

  10         PSG (FFMx);
  11                  e. Cruz v. City of Maywood, Paul [Pablo] Cunningham, CV 07-1999 PSG
  12         (JCx);
  13                  f. Sena v. City of Maywood, et.al., CV 07-1724 AHM (Jcx);
  14
                      g. Trujillo v. City of Maywood, et.al., CV 06-2738 PA (VBKx);
  15
                      h. Gonzalez v. City of Maywood, et.al., CV 05-6953 RJK (VBKx);
  16
                      i. Anderson (Estate) v. City of Maywood, et.al., CV 04-10119 RGK (Shx);
  17
                      j. Densmore v. Maywood, et.al., CV 06-3535 PSG (RZx).
  18

  19                              SECOND CAUSE OF ACTION
                            (Violation of Civil Rights - 42 U.S.C. § 1983)
  20                             Monell and Supervisorial Liability
  21         44. Plaintiff is informed and believes and thereon alleges that at all times herein
  22   mentioned, above named defendants with deliberate indifference, gross negligence
  23   and/or reckless disregard for the safety, security and constitutional and statutory rights
  24
       of Plaintiff maintained, enforced, tolerated, permitted, acquiesced in, and/or applied
  25
       inter alia policies and practices which included directing and controlling the unlawful
  26
       acts complained of herein.
  27
             45. Said defendants and each of them, acting under color of state law, have
  28

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   1   deprived Plaintiff of rights, privileges, and immunities secured by the Constitution and
   2   laws of the United States, in particular by the First, Fourth, Fourteenth Amendments to
   3   the United States Constitution by inter alia maintaining, enforcing, tolerating,
   4
       permitting, acquiescing and, and/or applying the policies and practices set forth above.
   5
       As a direct and proximate result of those policies and practices, Plaintiff sustained injury
   6
       and damage as described herein.
   7
             46. Plaintiff is informed and believes and thereon alleges that the supervisorial
   8

   9   defendants ordered, authorized, acquiesced in, tolerated, or permitted other defendants

  10   herein to engage in the unlawful and unconstitutional actions, policies, and practices set
  11   forth above. Defendants' conduct alleged herein constitutes a pattern of illicit law
  12   enforcement behavior, and statutory and constitutional violations based either on a
  13   deliberate plan by defendants or on defendants' deliberate indifference, gross
  14
       negligence, or reckless disregard for the safety, security and constitutional and statutory
  15
       rights of Plaintiff which violations include:
  16
                    a. Stopping, detaining, and/or arresting people and/or entering homes,
  17
             and/or searching and/or seizing property and people, without required warrants,
  18

  19         reasonable suspicion and/or probable cause;

  20                b. Using unreasonable and/or excessive force;
  21                c. Allowing and/or encouraging employees to brutalize, hurt and/or injure
  22         members of the public, by failing to require effective use-of-force training,
  23         supervision, discipline and reporting, including but not limited to not requiring
  24
             employees to report uses of force, by permitting and/or encouraging false and/or
  25
             misleading and/or incomplete reporting, and/or by failing adequately to monitor
  26
             employee uses of force;
  27
                    d. Condoning, tolerating and/or acquiescing in officers' engaging in racist
  28

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   1       conduct and/or racially motivated attacks on minority members of the community,
   2       and/or using racist speech when speaking with minorities and/or denigrating the
   3       race and/or nationality of minority members of the community;
   4
                 e. Condoning, tolerating and/or acquiescing in officers' sexually abusing
   5
           members of the community, including minors;
   6
                 f.   Failing adequately to investigate incidents involving the use of
   7
           unreasonable force and/or other misconduct;
   8

   9             g. Conducting investigations in such a manner as to conceal misconduct,

  10       including but not limited to using investigative techniques and procedures known
  11       to have that effect;
  12             h. Condoning and encouraging the fabrication of evidence including but
  13       not limited to the filing of materially false police reports;
  14
                 i. Condoning and encouraging a "code of silence," which keeps and/or
  15
           dissuades employees from reporting the misdeeds of fellow employees, and/or
  16
           causes and/or facilitates the preparation, submission and use of false official
  17
           reports, and/or making false official statements, and/or perjury; and which thereby
  18

  19       obstructs justice in official proceedings, including but not limited to state and

  20       federal criminal investigations and proceedings, and/or state and federal civil
  21       investigations and proceedings;
  22             j. Condoning and encouraging officers in the belief that their failure or
  23       refusal to participate in the "code of silence" or to cover up or conceal the
  24
           misconduct of other officers will cause them to be ostracized by other officers,
  25
           will adversely affect their ability to get support from other officers in dangerous
  26
           and/or life-threatening situations in the field and will adversely affect their
  27
           opportunities for promotion and other employment benefits, and which thereby
  28

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   1         obstructs justice in official proceedings, including but not limited to state and
   2         federal criminal investigations and proceedings, and/or state and federal civil
   3         investigations and proceedings;
   4
                    k. Condoning and encouraging the acceptance of "gratuities," "kickbacks,"
   5
             and/or other wrongful and/or illicit compensation, which has the effect of making
   6
             supervisors within the department vulnerable to accusations of misconduct and
   7
             unable and/or unwilling to effectively supervise and/or discipline subordinates;
   8

   9                l. Hiring individuals who are unsuited for police work, including but not

  10         limited to hiring individuals who have been fired or disciplined by other law
  11         enforcement agencies because they engaged in misconduct; and/or failing to
  12         conduct appropriate and/or required background investigations.
  13         47. Defendants and each of them, acting under color of state law, have deprived
  14
       Plaintiff of rights, privileges, and immunities secured by the Constitution and laws of
  15
       the United States, in particular by the First, Fourth, and Fourteenth Amendments to the
  16
       United States Constitution by inter alia maintaining, enforcing, tolerating, permitting,
  17
       acquiescing and, and/or applying the policies and practices set forth above. As a direct
  18

  19   and proximate result of those policies and practices, Plaintiff has sustained injury and

  20   damage as described hereinafter.
  21         48. Plaintiff is informed and believes and thereon alleges that defendant entities
  22   and supervisorial defendants ordered, authorized, acquiesced in, tolerated, or permitted
  23   other defendants herein to engage in the unlawful and unconstitutional actions, policies,
  24
       and practices set forth above. Defendants' conduct alleged herein constitutes a pattern
  25
       of intimidation, illicit law enforcement behavior, and statutory and constitutional
  26
       violations based either on a deliberate plan by defendants or on defendants' deliberate
  27
       indifference, gross negligence, or reckless disregard for the safety, security and
  28

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   1   constitutional and statutory rights of Plaintiff.
   2                               THIRD CAUSE OF ACTION
   3
                           (Violation of Civil Rights - 42 U.S.C. § 1983)
                           Against All Individually Named Defendants
   4
             49. Defendants and each of them, acting under color of state law, did without
   5
       probable cause and by use of excessive force unlawfully detain, arrest, batter, search,
   6
       molest and write false reports about Plaintiff, and did do all of the above in a
   7
       conspiratorial manner for the purpose of illegally obtaining criminal conviction(s)
   8

   9   against Plaintiff and to conceal their own wrongdoing and did also do so to intimidate

  10   Plaintiff’s witness(es) in said criminal prosecutions for the same improper purposes, all
  11   of which were intended with deliberate indifference of and reckless disregard for
  12   Plaintiff’s constitutional rights under the First, Fourth and Fourteenth Amendments to
  13   the United States Constitution. As a direct and proximate result of defendants' acts,
  14
       Plaintiff sustained injury and damage as set forth herein.
  15
                                FOURTH CAUSE OF ACTION
  16                            (Violation of 42 U.S.C. §1985(2))
                           Against All Individually Named Defendants
  17
             50. Defendants, and two or more of them, in the State of California, County of
  18

  19   Los Angeles, and City of Maywood-Cudahy, by reason of Defendants' animus against

  20   minorities, including Plaintiff’s Latino heritage and invidious animus, conspired
  21   together to act and to fail and omit to act as hereinbefore alleged, for the purpose of (I)
  22   impeding, hindering, obstructing, and defeating the due course of justice in the State of
  23   California and County of Los Angeles, (ii) to deny Plaintiff his right to free speech, (iv)
  24
       to deny equal protection of the laws to Plaintiff and (v) to subject Plaintiff’s persons and
  25
       property to unlawful search and seizure thereby depriving Plaintiff of immunities
  26
       secured by the Constitution and the laws of the United States, including the First, Fourth
  27
       and Fourteenth Amendments to the Unites States Constitution, by, inter alia, ordering,
  28

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   1   authorizing, maintaining, enforcing, tolerating, ratifying, permitting, acquiescing in,
   2   and/or applying the policies and practices set forth hereinabove. Defendants' conspiracy
   3   was and is motivated by animus directed against Plaintiff because of his race, color or
   4
       national origin, and/or by the race, color, or national origin of persons with whom they
   5
       associated, and/or by other class-based, invidiously discriminatory animus directed
   6
       against Plaintiff. In furtherance of the conspiracy one or more of the defendants
   7
       committed one or more of the overt acts set forth hereinabove which did in fact deprive
   8

   9   Plaintiff of equal rights, privileges or immunities.

  10         51. Defendants, and each of them, purposefully, under color of law, planned and
  11   conspired to deny Plaintiff equal protection of the laws in the following respects:
  12                a. to deny the right to be free from unreasonable search and seizure;
  13                b. to deny the right not to be deprived of life, property or liberty without
  14
             due process of law;
  15
                    c. to deny the right of free speech;
  16
                    d. to be free from use of excessive force.
  17
             52. By virtue of the foregoing, defendants, and each of them, violated 42 U.S.C.
  18

  19   §1985(2).

  20         53. As a direct and proximate result of the foregoing, Plaintiff has been damaged
  21   as recited above and demand and isentitled to the damages recited above, including, but
  22   not limited to, general and punitive damages (except entities) and attorney's fees.
  23                               FIFTH CAUSE OF ACTION
  24
                                  (Violation of 42 U.S.C. §1985(3))
                             Against All Individually Named Defendants
  25
             54. By virtue of the foregoing, Defendants, and two or more of them, conspired
  26
       for the purpose of:
  27
                    a. depriving Plaintiff of (1) equal protection of the law; and (2) liberty and
  28

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   1         property without due process of law.
   2         55. Defendants, and each of them, did and caused to be done, an act or acts in
   3   furtherance of the object of the conspiracy, whereby Plaintiff was deprived of the rights
   4
       and privileges as set forth above.
   5
             56. As a direct and proximate result of the foregoing, Plaintiff is entitled to and
   6
       demands damages against defendants, jointly and severally, as recited in the First and
   7
       Second Causes of Action, including, but not limited to, general and punitive damages
   8

   9   (except entities) and attorneys fees.

  10                              SIXTH CAUSE OF ACTION
                        (California Constitution, Article I, §§ 1, 7, and 13)
  11                                 Against All Defendants
  12         57. The conduct of each defendant in detaining, searching, arresting, and
  13   assaulting Plaintiff and in threatening and in doing or failing to do the other wrongful
  14
       acts herein alleged was done for the purpose of interfering with and attempting to
  15
       interfere with Plaintiff’s rights to freedom of expression, to be free from unreasonable
  16
       invasions of their privacy and unreasonable search and seizure, and to be accorded due
  17
       process and equal protection under Article I, §§ 1, 7 and 13 of the California
  18

  19   Constitution.

  20                             SEVENTH CAUSE OF ACTION
                                   (California Civil Code §52.1)
  21                                 Against All Defendants
  22         58. The conduct of each defendant in detaining, searching, and assaulting
  23   Plaintiff and in threatening and in doing or failing to do the other wrongful acts herein
  24
       alleged was done for the purpose of interfering with and attempting to interfere with
  25
       Plaintiff's rights under the First, Fourth and Fourteenth Amendments and Plaintiff's right
  26
       to freedom of expression, to be free from unreasonable invasions of his privacy and
  27
       unreasonable search and seizure and accorded due process and equal protection under
  28

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   1   Article I, §§ 1, 7, 12, and 13 of the California Constitution, and for that reason violated
   2   Plaintiff's rights under California Civil Code Section 52.1(b). Plaintiff is informed and
   3   believes and thereon alleges that the defendants’ wrongful acts were done maliciously
   4
       and criminally and for the purpose of inflicting injury on Plaintiff.
   5
              59.   As the proximate cause of defendants’ and each of their conduct as
   6
       hereinbefore alleged, Plaintiff has been damaged in an amount not presently ascertained,
   7
       but subject to proof at trial.
   8

   9          60. Plaintiff is informed and believes and thereon alleges that Defendants’ and

  10   each of their conduct was malicious, willful, fraudulent and oppressive, done with a
  11   conscious disregard for Plaintiff’s rights and with the intent to injure Plaintiff, thereby
  12   justifying the award of exemplary damages (except for entities) in a sum to be
  13   determined according to proof.
  14
                                   EIGHTH CAUSE OF ACTION
  15                             (California Civil Code Section 51.7)
                                       Against All Defendants
  16
              61. Plaintiff is informed and believes and thereon alleges that the conduct of each
  17
       defendant in using force upon and injuring Plaintiff and in threatening and attempting
  18

  19   to use force upon and injure Plaintiff, and in doing or failing to do the other wrongful

  20   acts herein alleged was motivated by defendants' invidious racial and/or ethnic and/or
  21   other impermissible animus toward Plaintiff, and for that reason violated Plaintiff’s
  22   rights under California Civil Code § 51.7. Plaintiff is informed and believes and thereon
  23   alleges that the defendants’ wrongful acts were done maliciously and criminally and for
  24
       the purpose of inflicting injury on Plaintiff.
  25
                                    NINTH CAUSE OF ACTION
  26                                   (Assault and Battery)
                                       Against all Defendants
  27
              62. At the date, time and location, defendants, and each of them, as either
  28

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   1   employees, supervisors or employees in the course and scope of their duties
   2   intentionally and maliciously abused Plaintiff by reason of the acts alleged herein above
   3   causing Plaintiff, without provocation, necessity or lawful justification, to suffer said
   4
       violations of their civil rights.
   5
              63. As a proximate result of the acts of defendants, and each of them, as herein
   6
       alleged, Plaintiff was compelled to expend money all to their damage in an amount
   7
       according to proof.
   8

   9          64. As a proximate result of the acts of defendants, and each of them, Plaintiff

  10   was injured in health, strength and activity, sustaining injuries to his body and shock
  11   and injury to his nervous systems and persons; all of which injuries have caused Plaintiff
  12   to suffer severe pain and mental anguish.
  13          65. As a further proximate result of the acts of defendants, and each of them,
  14
       Plaintiff was required to and/or did employ physicians and surgeons for medical
  15
       examination, treatment and care of injuries, and did incur medical and incidental
  16
       expenses. Plaintiff did incur and will incur further treatment, the exact amount of which
  17
       is unknown at this time.
  18

  19          66. As a further proximate result of the acts of defendants, Plaintiff was

  20   prevented from attending to his usual occupations and thereby lost earnings and income.
  21          67. The acts of defendants, and each of them, were willful, malicious and
  22   oppressive, in conscious disregard of Plaintiff’s known rights and thereby justify the
  23   awarding of exemplary damages (except entities) according to proof.
  24
                                    TENTH CAUSE OF ACTION
  25                         (Intentional Infliction of Emotional Distress)
                                        Against all Defendants
  26
              68. Plaintiff was entitled to the due care, service and protection of the entities and
  27
       their officers and medical staff.
  28

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   1         69. On or about the dates alleged above and thereafter, Defendants caused the
   2   Plaintiff to be unlawfully detained, seized, beaten and/or otherwise abused without
   3   reasonable cause or justification.
   4
             70. In doing the aforementioned acts, defendants’ conduct was intentional,
   5
       outrageous, malicious, and done for the specific purpose of causing Plaintiff to suffer
   6
       extreme emotional distress, indignity, fear, anxiety, and mental anguish.
   7
             71. As a direct and proximate result of the foregoing, Plaintiff has suffered, and
   8

   9   continue to suffer, severe mental, emotional and physical distress and are entitled to and

  10   demands damages against defendants.
  11                          ELEVENTH CAUSE OF ACTION
                           (Negligent Employment Civil Code §1714)
  12                       Against Entities and Supervisor Defendants
  13         72. Defendant entities and supervisor defendants knew or in the exercise of due
  14
       care should have known, that individually named defendants and Does 1 Through 30
  15
       inclusive, and each of them, had a propensity, character trait, and practice for
  16
       dishonesty, deception, abuse of authority, harassment, and violence without justification
  17
       against Plaintiff and other members of the public.
  18

  19         73. At all times material herein, said Defendant entities and supervisors knew or

  20   with reasonable care should have known, that the aforedescribed traits of character,
  21   practices and propensities of defendants and Does 1 through 30 inclusive, and each of
  22   them, made them unfit to serve as law enforcement officers.
  23         74.   Notwithstanding such knowledge, Defendant entities and supervisors
  24
       negligently and carelessly employed and retained and failed to properly supervise, train
  25
       and control defendants and Does 1 through 30 inclusive, and each of them, as employees
  26
       and assigned said defendants to duties which enabled each of them to abuse their
  27
       authority, including but not limited to making unlawful detentions and arrests by use of
  28

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   1   excessive force, warrantless arrests, fabricating probable cause and crimes, causing the
   2   fraudulent and malicious criminal prosecution of innocent persons while purporting to
   3   act under the color of law.
   4
             75. As a proximate result of the negligent retention and supervision of defendant
   5
       entities and supervisors and each of them, Plaintiff suffered damages and injuries,
   6
       including but not limited to false arrests/detentions, beatings, malicious prosecutions,
   7
       severe mental anguish, emotional distress, severe embarrassment, financial losses, all
   8

   9   to the Plaintiff’ damage in a sum according to proof.

  10                               TWELFTH CAUSE OF ACTION
                                    (Negligence/Civil Code § 1714))
  11                                    Against All Defendants
  12         76. Plaintiff alleges that by the actions or omissions set forth above, all
  13   defendants failed to use and exercise reasonable care as is required by Civil Code §
  14
       1714. In particular, defendants failed to exercise reasonable care in its conduct in the
  15
       exercise of their duties.
  16
             77. As a proximate result of the negligence and carelessness of defendants, and
  17
       each of them, Plaintiff suffered damages as alleged above in a sum according to proof.
  18

  19                                   INJUNCTIVE RELIEF

  20         78. Plaintiff is informed and believes and thereon alleges that, unless enjoined,
  21   as requested in the prayer, defendants will continue to engage in the unlawful acts and
  22   in the policies and practices described above, in violation of the legal and constitutional
  23   rights of the Plaintiff. Plaintiff face the real and immediate threat of repeated and
  24
       irreparable injury and continuing, present adverse effects as a result of the unlawful
  25
       misconduct, policies and practices of the defendants. Plaintiff has no adequate and
  26
       complete remedy at law.
  27
       ///
  28

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   1                                          PRAYER
   2             Wherefore, Plaintiff prays judgment against defendants and each of them, as
   3   follows:
   4
          As to each cause of action at to each Plaintiff as applicable:
   5
             1. For general damages according to proof;
   6
             2. For special damages according to proof;
   7
             3. For statutory damages under Cal. Civ. Code §§ 52(a) and/or (b), 52.1(b),
   8

   9   California Code of Civil Procedure 1021.5, and under any other applicable statute or

  10   theory;
  11         4. For punitive damages against each individual Defendant;
  12         5. For attorney's fees pursuant to 42 U.S.C. §1988, California Civil Code §52.1,
  13   California Code of Civil Procedure 1021.5, and under any other applicable statute or
  14
       theory;
  15
             6. For costs of suit;
  16
             7. Declaring, pursuant to 28 U.S.C. §§ 2201-2202 that the acts, policies, rules,
  17
       regulations, practices, customs, and usages that the defendants engaged in as set forth
  18

  19   above violate the legal and constitutional rights of the Plaintiff.

  20         8. Permanently enjoining defendants and their agents, employees, and successors,
  21   and all persons in active concert or participation with defendants, from engaging in the
  22   unlawful and unconstitutional acts, policies, rules, regulations, practices, customs, and
  23   usages set forth above.
  24
             9. Placing the Maywood-Cudahy Police Department under the direct supervision
  25
       and control of a receiver or special master to be appointed by the Court; directing the
  26
       receiver or special master to review all existing written and unwritten policies and
  27
       procedures of defendants with respect to the acts, policies, rules, regulations, practices,
  28

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   1   customs, and usages set forth above; directing the receiver or special master to modify,
   2   amend, or revoke, or to confirm and enforce, existing policies and procedures and to
   3   establish such new or additional written policies and procedures as may be necessary
   4
       and proper; and directing the receiver or special master to implement and enforce
   5
       appropriate written policies and procedures with respect to the following subjects,
   6
       among others:
   7
                      a. Ensuring compliance with constitutional standards governing the use of
   8

   9         firearms, the use of force, the conduct of searches, and the use of deadly force.

  10                  b. Providing adequate training, certification, and periodic recertification
  11         of all officers in the lawful use of force, including firearms and other deadly
  12         force.
  13                  c. Specifying departmentally approved weaponless control techniques,
  14
             and providing for adequate training, certification, and periodic recertification of
  15
             all officers in the use of such techniques.
  16
                      d. Ensuring that members of the public injured by officers receive prompt
  17
             and appropriate medical care, and that their injuries are catalogued and recorded
  18

  19         in police reports and by photographs of all such injuries.

  20                  e. Requiring that all persons in custody be transported to a hospital for
  21         examination and treatment by a medical doctor whenever:
  22                        i.     the person sustains a head injury, strikes his or her head on a
  23                               hard object, or sustains a blow to the head, regardless of how
  24
                                   minor any such injury may appear;
  25
                            ii.    the person is choked or is subjected to any control hold
  26
                                   involving the neck, regardless of whether or not the person is
  27
                                   rendered unconscious;
  28

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   1                    iii.   the person has any injuries that appear to require medical
   2                           attention;
   3                    iv.    the person requests medical treatment, regardless of whether
   4
                               or not the person has any apparent injuries.
   5
                 f. Prohibiting the use of saps in any circumstances, and prohibiting the use
   6
           of head strikes and strikes to other vital areas of the body by batons or
   7
           flashlights, punches or kicks, except in cases where there is legal justification for
   8

   9       the use of deadly force.

  10             g. Requiring that searches be conducted in a manner which inflicts the
  11       least amount of damage necessary in order to conduct an adequate search; that
  12       officers be required to photograph or videotape the premises before and after each
  13       and every search; that officers return to their original location and condition all
  14
           items displaced in any search; and that the Maywood-Cudahy Police Department
  15
           pay for the repair or replacement of any property unnecessarily damaged or
  16
           destroyed in the course of any search.
  17
                 h. Recording in writing each instance in which an officer is involved in the
  18

  19       use of force in arresting a suspect or in detaining any person, regardless of

  20       whether an arrest is made.
  21             i. Requiring that any officer who participates in or witnesses any incident
  22       involving the use of force by an officer shall prepare and submit a departmental
  23       report containing detailed information regarding the incident, including:
  24
                        i.     A full description of the actions of the suspect or member of
  25
                               the public which made the use of force necessary;
  26
                        ii.    A full description of the specific force used or observed by
  27
                               the officer;
  28

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   1                     iii.   A full description of any injuries or complaints of injuries
   2                            sustained by the suspect or member of the public, including
   3                            photographs or videotapes of the suspect or member of the
   4
                                public;
   5
                         iv.    A full description of any medical treatment received by and
   6
                                any refusal of such treatment by the suspect or member of the
   7
                                public.
   8

   9              j. Establishing a system that allows an immediate on-duty supervisor to

  10       readily access a historical record of any officer who has used force in a period of
  11       at least the last 5 years, including the identity of the officer(s) involved in the use
  12       of force, the file number(s) of the report(s) in which the use of force is reported,
  13       and a description of the nature of the force used (e.g., "intentional head strike
  14
           with baton"; "accidental head strike with flashlight"); requiring periodic review
  15
           of such records for patterns of unjustified use of force by officers and institution
  16
           of disciplinary proceedings where appropriate; requiring review of such records
  17
           whenever a supervisor prepares a departmental performance evaluation of any
  18

  19       officer; and requiring that performance evaluations include documentation of any

  20       patterns concerning the unjustified use of force.
  21              k. Providing that, in any situation in which deadly force has been used by
  22       an officer and death or serious injuryhas resulted, there shall be an administrative
  23       review of the use of force to determine whether it was in compliance with
  24
           departmental policy and constitutional standards, and whether departmental
  25
           policy should be modified in view of the circumstances surrounding the use of
  26
           such force.
  27
                  l. Requiring that, in departmental investigations of officer-involved
  28

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   1       shootings, other use of deadly force by officers, or complaints of officer
   2       misconduct:
   3                     i.     all percipient witnesses (including officers) be segregated
   4
                                from each other as soon as practicable after the incident;
   5
                         ii.    such witnesses not be permitted to discuss the incident with
   6
                                any other witness until after all witnesses have been
   7
                                interviewed by departmental investigators;
   8

   9                     iii.   such witnesses not be informed of the contents or substance

  10                            of the statements of other witnesses until after all witnesses
  11                            have been interviewed by departmental investigators; and
  12                     iv.    all witness interviews, including interviews of involved
  13                            officers, be fully and completely tape-recorded.
  14
                 m. Indexing by individual officer and maintaining files of complaints by
  15
           members of the public, Cal. Govt. Code § 910 claims, and lawsuits concerning
  16
           officer misconduct; adequately investigating such complaints, claims, and
  17
           lawsuits; and using such files to monitor the conduct of officers.
  18

  19             n. Requiring psychological testing and counseling of officers with a record

  20       of using unreasonable or excessive force, making false arrests, filing false
  21       charges, engaging in related acts of dishonesty, or engaging in racially motivated
  22       misconduct.
  23             o. Maintaining a promotional system which penalizes officers for instances
  24
           of unjustified use of firearms or unjustified use of force, violence, sexual
  25
           innuendo, dishonesty, racial or ethnic bias, or other misconduct.
  26
                 p.   Requiring dismissal of officers involved in instances of sexual
  27
           misconduct, and/or repeatedly involved in instances of unjustified use of firearms
  28

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   1       or unjustified use of force, violence, dishonesty, racial or ethnic bias, or other
   2       misconduct.
   3             q. Requiring that, where an investigation discloses any improper use of
   4
           force by an officer, particularly improper use of force which causes serious bodily
   5
           injury as defined in Cal. Penal Code § 243, that matter should be referred to the
   6
           District Attorney's Office for consideration of filing a criminal complaint.
   7
                 r. Requiring that, whenever any officer has been judicially determined to
   8

   9       have engaged in a violation of constitutional or civil rights, whenever a monetary

  10       settlement has been made or a judgment has been rendered based on the use of
  11       excessive force by an officer, or whenever any arrest has been made as to which
  12       an officer claims to be the victim of a crime:
  13                     i.     a departmental investigation be conducted, regardless of any
  14
                                earlier investigation or the findings thereof;
  15
                         ii.    The investigators review all evidence introduced at trial or
  16
                                provided to them by any person, and that they interview all
  17
                                known witnesses including Plaintiff's trial experts, and
  18

  19                            interview Plaintiff's counsel in any lawsuit alleging officer

  20                            misconduct;
  21                     iii.   a full report be made to the Chief of Police and to the receiver
  22                            or special master with recommendations for or against
  23                            disciplinary or criminal sanctions against the officer.
  24
                 s. Directing that the defendants seek tangible ways (for example, through
  25
           disciplinary measures) to establish the principle that racial and ethnic bias will not
  26
           be tolerated within the Maywood-Cudahy Police Department, and that the
  27
           defendants establish an adequate program of cultural awareness training and
  28

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   1        periodic retraining to eliminate racial or ethnic stereotypes for all officers.
   2              t. Directing that the defendants seek tangible ways to establish the
   3        principle that gender bias and discrimination and sexual misconduct will not be
   4
            tolerated within the Maywood-Cudahy Police Department, and that the
   5
            defendants establish an adequate program of gender awareness training and
   6
            periodic retraining to eliminate any and all gender discrimination and sexual
   7
            misconduct.
   8

   9        10. For such other and further relief as the Court may deem proper.

  10   DATED: May 12, 2008
  11                          CYNTHIA ANDERSON-BARKER
                               ELLEN HAMMILL ELLISON
  12                                 OLU ORANGE
                                    ROBERT MANN
  13                              DONALD W. COOK
  14                               ATTORNEYS AT LAW

  15

  16                      By ___________________________________
                                      Donald W. Cook
  17                                Attorneys for Plaintiff
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   1                           DEMAND FOR JURY TRIAL
   2        Plaintiff hereby demand a jury trial.
   3   DATED: May 12, 2008
   4
                              CYNTHIA ANDERSON-BARKER
   5                           ELLEN HAMMILL ELLISON
                                     OLU ORANGE
   6                                ROBERT MANN
                                  DONALD W. COOK
   7                               ATTORNEYS AT LAW
   8

   9
                                By
  10                                    Donald W. Cook
                                      Attorneys for Plaintiff
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